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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

                                       )
UNITED STATES OF AMERICA,
                                       )
                                       )    CASE NO. 1:14-CR-227-03-TCB
v.
                                       )                and
                                       )        1:14-CR-229-01-TCB
GARY EDWIN SHARP, Jr.,
                                       )
  Defendant
                                       )

             DEFENDANT'S SENTENCING MEMORANDUM

      This investigation and case have been pending for many years.
During that time, Gary Sharp has accepted responsibility for his actions,
demonstrated remorse for his involvement, and matured into a responsible
father and contributing member of society. His post-conduct rehabilitation
demonstrates to this Court that a sentence of confinement is not necessary
to comply with the purposes set forth in 18 U.S.C. § 3553(a).
      There is one objection to the Guideline calculations in the PSR by the
defense. It is to the enhancement for Role in the Offense, ¶152. The defense
recognizes that Mr. Sharp should receive some upward adjustment for his
role in the offense in SnappzMarket, but contends that the 4-level
enhancement assessed in the PSR is too high. Additionally, Mr. Sharp
should receive a downward adjustment for his mitigating role in
Applanet; however, even if the Court applied a downward adjustment, it
would have no effect on the resulting Guidelines calculation.
      There are two reasons the Court should vary downwards from the
resulting Guideline range in determining a reasonable sentence for Mr.
Sharp. First, the loss calculation in this case overstates the seriousness of



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the offense due to the nature of this particular case. Second, a
consideration of Mr. Sharp’s history and personal characteristics, in
particular his post-offense rehabilitation and his current family situation,
shows that the sentence contemplated by the Guidelines is too harsh.


   1. The Criminal Conduct In This Case Did Not Involve Five Or More
      Participants; Nor Was It Otherwise Extensive.
      Gary Sharp is charged in two different indictments for his conduct
in two different alternative marketplaces for mobile phone applications:
SnappzMarket and Applanet. Gary’s involvement in Applanet spanned
the time period from February 1, 2011 to approximately June of that same
year. Around June of 2011, SnappzMarket was created – at which time,
Gary’s involvement with Applanet came to an end.
      In paragraph 31, the PSR correctly notes that Gary’s involvement
with Applanet was that of a “super moderator” on Applanet’s servers and
Facebook page. His only compensation for his involvement in Applanet
was one video game. Applanet functioned well before Gary got involved,
and continue to function after Gary left. He did not direct anyone else’s
activities; he did not have decision-making authority about Applanet’s
operations; and he did not share in any profits Applanet may have made.
      For SnappzMarket, Gary admittedly had a much more important
role. He and Kody Peterson started SnappzMarket. Peterson was
responsible for the coding and development of the website, while Gary
handled the finances and more of the administrative side. Josh Taylor
sought out SnappzMarket, through Gary, and offered to provide the
computer servers necessary to host the website. Scott Walton was involved
with SnappzMarket as well.



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      SnappzMarket did not involve five or more participants; there were
four. There weren’t any other individuals who were involved (who don’t
qualify as participants.) The criminal activity was not otherwise extensive;
the criminal activity involved taking copyright-protected applications and
making them available without the owner’s permission.
      Some circuits have set forth tests or factors to consider in evaluating
whether criminal activity is otherwise extensive. The Second Circuit, Third
Circuit and Sixth Circuit focus on the size of the criminal organization
(counting heads of everyone involved, not just those defined as
“participants” under the Guidelines.) See United States v. Anthony, 280
F.3d 694, 699 (6th Cir. 2002); United States v. Helbling, 209 F.3d 226 (3d Cir.
2000); United States v. Carrozzella, 105 F.3d 796, 802-03 (2d Cir. 1997).
Other circuits focus more broadly on the totality of the circumstances, not
just the number of participants and non-participants, but also the width,
breadth, scope, complexity, and duration of the scheme. See United States
v. Colon-Munoz, 318 F.3d 348 (2003). In a recent unpublished opinion, the
Eleventh Circuit stated that our circuit seems to follow the broader,
totality-of-the-circumstances approach of the First Circuit. United States v.
Zada, 706 Fed.Appx. 500 (11th Cir. 2017) citing to United States v. Holland,
22 F.3d 1040, 1046 (11th Cir. 1994).
      A consideration of the totality of the circumstances involved in this
case – in SnappzMarket – shows the criminal conduct was not otherwise
extensive. It was not especially complex, didn’t span multiple states, with
numerous people involved, and it wasn’t particularly large in scope.
SnappzMarket was in existence for some months, but not years. Gary’s
role in this offense warrants a two-level enhancement.



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   2. The Loss Calculation Overstates the Seriousness of this Offense.
      The loss calculation in the Sentencing Guidelines in this case leads to
a suggested sentence that is harsher than necessary, or appropriate, for the
criminal conduct that occurred. The loss amount in the PSR is more than
three million dollars for Gary. The loss guidelines don’t take into account
the defendant’s motivation for committing the crime, how much the
defendant personally profited, what financial harm the defendant
intended, how much financial damage was caused, or various other factors
that ought to have an impact on the resulting custody Guideline range.
The Guidelines treat Gary equally with someone who stole three million
dollars from peoples’ retirement accounts, or embezzled three million
dollars from their employer over a decade. And the Guidelines don’t take
into account the fact that any financial damages caused by Gary’s conduct
don’t necessarily equate to the loss amount calculated by the Guidelines. It
is virtually certain that many of the apps downloaded from SnappzMarket
would NOT have been purchased; in other words, the people who
downloaded the free applications from SnappzMarket only did so because
they didn’t have to pay for them. And in fact, some of the very same
applications are now free. And while Gary did have some modest financial
gain, it was nowhere near the three million dollar loss amount.


   3. Gary’s Personal History and Characteristics Merit a Downward
      Variance.
      This case has been pending for almost four years; almost six years if
you count the time since Sharp was interviewed by the FBI as part of their
investigation. In that time, he has lost his job (because of his arrest in this
case), gotten married, had a son, gotten divorced, and found a new job. His




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mother’s health has significantly deteriorated, to the point where she
needs to move in with him.
      As the PSR notes, Gary was born in Rhode Island and is the
youngest of three children. His parents are divorced (his father is
remarried.) Growing up, Gary was diagnosed with ADHD; he has also
been diagnosed with anxiety, depression, paranoia, and bi-polar disorder.
He treats his conditions with medication, when he can afford it.
      His current doctor wrote a letter to the Court (which was mailed
directly to chambers), listing his diagnoses. Although Dr. Hamel has only
been treating Gary since January of this year, Gary has been a patient at
West Bay Psychiatric Associates for 11 years.
      At age 18, Gary enlisted in the Army. He was stationed at Ft. Stewart
and served from 2005 to 2007.
      After his involvement with Snappzmarket and Applanet, Gary
worked in IT with Citizens Bank in Rhode Island. It was a good job, and he
was well-respected there; but they had to terminate him once they learned
about his indictment. His friend, and former supervisor, Keith Hansen,
wrote a letter to the Court about Gary’s character. He has known Gary for
a long time – and (jokingly) considers Gary “the 7th son I never wanted.”
Keith hired Gary to work for Keith at Citizens Bank. He describes Gary’s
work ethic and how Gary was committed to doing his best at his job. Not
only did Keith rely on Gary at work, but he relied on Gary at home too. He
trusted Gary to watch his five oldest sons while he took his wife to the
doctor during her last pregnancy. And he knew he could count on Gary to
drop everything at a moment’s notice to help out when Keith needed it.
Keith has also known Gary as a father to Connor, and describes Gary as an



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“amazing father” who gives Connor “confidence, strength, provides
stability and . . . so much love.”
        Gary had a difficult time finding a decent job after his arrest; he
received unemployment benefits for a time, and worked a modest-paying
job at MD Calibrations. At the time the final PSR was written, Gary was
unemployed. However, about a year ago he was hired at CVS Health in
Rhode Island. His position is that of Technical Support. During the
interview process, he disclosed his pending case and sentencing, and the
company hired him anyways. This job allows him to support himself and
his young son; and he plans to move out of his mobile home into a bigger
home so his mother can move in with him – pending the outcome of his
sentencing hearing.
        Gary’s mother, Arlene Denomme, has MS1. She also has diabetes,
high blood pressure, severe insomnia, depression, and sciatica problems.
Her health issues are severe. She has been completely disabled, and
collecting Social Security Disability, since 2004. Arlene is unable to live
alone; she falls frequently and has seizures. When she does fall, her injuries
can be very serious – such as breaking a bone, or striking her head. She
currently lives with her mother – who is 88 years old. Her mother has
become unable to care for her, and now Arlene has to make alternate living
arrangements. Her seizures can prevent her from being able to drive –
sometimes for months. She has difficulty walking, and uses a walker at
home, or a cane when she leaves the house. She has been to the emergency
room multiple times within the past few years – especially now that her


1 Arlene is unable to travel to be present for sentencing. She made a video-recorded
statement for the Court’s consideration. Undersigned counsel will provide a copy of
the video to the Court and the government prior to sentencing.


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mother is older. Her mother no longer has the physical strength and
capacity to help her when she falls or has seizures; so her mother calls an
ambulance instead. This also means that Arlene stays in the hospital longer
– she has had to go to rehab to demonstrate to her doctor that she can walk
with her walker, before being released, because of the concerns that her
mother can’t physically care for her during her recovery.
      Gary wants to buy a house so his mother can move in with him. She
wants to live with him as well. He is financially able to do so, but hasn’t
yet purchased a house because of the uncertainty of his sentence. Gary has
two sisters, but they live in Indiana. Gary’s mother cannot afford to live on
her own and pay for someone to provide homecare, nor can she afford
assisted living. She doesn’t want to uproot her life and move to Indiana –
away from her mother, from Gary, her doctors and other healthcare
providers.
      Gary is a proud father to Connor – his son who is two and a half
years old. Gary married Katherine Renehan while this case was pending.
Connor was born, and Gary and Katherine have since divorced. Gary and
Katherine share custody of their son, but Gary is responsible for paying for
Connor’s daycare as well as much of Connor’s other financial needs.
Katherine’s parents, Ed and Christa Renehan, still think highly of Gary,
despite the dissolution of their daughter’s marriage. They wrote a letter to
the Court, and describe how they saw Gary mature during the time they
knew him. They were initially unimpressed with Gary, but say he became
more rounded, serious and reliable. They consider him a second son, and
say he is a wonderful and loving father to Connor.
      Gary’s former brother-in-law – William Renehan wrote a letter also.
He says Gary has always been wonderful to the Renehan family, and

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William relied on Gary for support because William too has bi-polar
disorder. William’s letter was written more recently than Ed and Christa’s.
Gary is now in a new relationship, and William describes Gary’s girlfriend
as a positive and lovely woman. William says Gary is a solid role model
for Connor.
      Even Katherine wrote a letter to the Court on behalf of Gary, despite
their break-up. She too says Gary has matured substantially during the
time she has known him. She has seen Gary become more serious and
responsible. Katherine describes Gary as the most loving and caring father
a child could have.
      Gary’s current girlfriend, Kate-Lynn Charest also wrote a letter. She
too has a young son – her child is a little older than Connor. The majority
of her letter describes her view of Connor and Gary’s relationship. She
clearly thinks the world of Gary, and describes Gary as “one of the most
amazing fathers that I know.” Not only is Gary a wonderful father to
Connor, but he acts as a father figure to Kate’s son as well.
      Gary was 23 years old when he became a super-moderator for
Applanet. He was single and childless; he had no one to think about except
himself really. Since that time, he has matured greatly; this is
demonstrated to the Court through the words of his friends and family,
but also by the fact that CVS Health hired Gary even with this sentencing
hanging over his head. He has been there for a year, in a good and stable
job that allows him to provide for his son, and for his mother. Both of
whom depend on him – and almost solely on him – for their well-being.
      The Government filed a motion asking the Court for a Downward
Departure based on Gary’s substantial assistance. He testified – at length –
in David Lee’s trial and was willing to testify at Lee’s retrial if necessary.

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He accepted responsibility for his actions in Applanet and SnappzMarket
and awaits his punishment. But sending him to prison will be devastating
to Gary, his son, and his mother. He will lose his job, his home, his ability
to provide for his family. He will likely lose custody of his son for more
than just any period of incarceration.
      Therefore, Gary asks the Court to sentence him to a period of home
confinement with community service and a fine. Such a sentence would
satisfy the goals of sentencing, while allowing Gary to keep his job, keep
his current custody arrangement of his son, and care for his mother.


      Respectfully submitted, this 4th day of June, 2018.

                                GARLAND, SAMUEL, & LOEB, P.C.


                                s/Amanda R. Clark Palmer
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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been formatted

with Book Antigua font, 13-point type which complies with the font size

requirements of Local Rule 5.1C.

                        CERTIFICATE OF SERVICE

      I hereby certify that today I have filed a copy of the foregoing

document with the Clerk of Court using the CM/ECF system which will

automatically send notice of such filing to all parties of record.

      This 4th day of June, 2018.

                                 GARLAND, SAMUEL, & LOEB, P.C.


                                 s/Amanda R. Clark Palmer
                                 Amanda R. Clark Palmer
                                 GA Bar No. 130608




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